Case 3:22-cv-01 704 GE DCT Es rere + coeRT' 19 PagelD 1

FOR THE NORTHERN DISTRICT OF TEXAS

 

 

 

2022 AUG -5 PM 4: 05
PD Fn RA
CT IGIRAL MS
Mae Qushing
Plaintiff J $3 °-22CV1704-G
“ Civil Action No.
Exerer Finantc &
Defendant

COMPLAINT
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* Attach additional pages as needed.

 

 

 

Date Prusust ot” 2002

Signature UW Oo Yonge,

Print Name Mal Qushing

Address 12500 Merit Or Apt O31
City, State, Zip Dallas evas W5a5]
Telephone 0$2-34>) 1143

 
 

“—_ g Page 2 off

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Mae Ausnin
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Dallas TY 1525)

 

Huditows Chevroret
(2000 “Thnter Diagnal
VY\ QULt yr City , OY
T2810

HE: Rian of Acscission

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Nadu Woman herery rescind muy cont
+0 'o¢ liable to perform on Wid convac+t
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Notice nat Pursuant to THe 15 Us. Code
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Pavyynervt Rumby semen shall loc made _
by Cnet Pangvle Th. -
Mat fushing
12500 Merit Dr Ayes wal oo
Naiias TX 1699!

 
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Case 3:22-cv-0

   

Affidavit Right To Rescind
05/16/2022

Mae Rushing
12500 Merit Dr Apt 6316
Dallas Texas 75251

Hudiburg Chevrolet
6000 Tinker Diagonal
Midwest City, OK
73110

RE: Affidavit of Truth

This Rescission notice is made Pursuant to CFPB 1026.23 Right of Rescission as | was never
told that | had 3 days to rescind the agreement nor was | given the notices that come along with
all consumer credit transactions.

Furthermore, you, Hudiburg Chevrolet, failed to clearly & conspicuously disclose my right to
rescind

|. Mae Rushing, participated in a consumer credit transaction and not a loan Pursuant to Title 15
US. Code § 1602(i):

Take further notice that Pursuant to Title 15 U.S. Code § 1605, the finance charge in connection
with any consumer credit transaction shall be determined as the sum of all charges which was
never disclosed to me by your organization in direct violation of this law;

Pursuant to Title 15 U.S. Code § 1611(1)(3), you can be fined up to $5000.00 for giving false
inaccurate information and failure to provide information which is required to disclose and i hj
case you, Hudiburg Chevrolet, willfully did when you failed to disclose and provide all in this
information clearly to me as a consumer

Notice that Pursuant to Title 15 U.S. Code § 1635(b), upon receipt of this rescission |
liable for any finance charge, secunty interest, etc. becomes void effective nanedieie not
y

Take further notice that 20 days after your receipt of this notice you have to return
property given and also terminate and reflect that termination of the secunty incest:
S

the property which in this case 1s a 2017 Jeep Cherokee VIN# ICAPJLCB7HWS86204 en

y Money or

 
Case 3:22-cv-01704-G-BT Document1 Filed 08/05/22 Page5of19 PagelD5

Your failure to comply with this rescission will result in a civil lability for fraud Pursuant to Title
15 U.S. Code § 1640
This Affidavit of Truth is dated on the 16th of May in the year 2022

Rushing Mac- Mieke C'5M'

Without Prejudice, All Natural Inalienable Rights Reserved

Seal
Jurat
State of
Count of (44/4 «4 ee n
Subscribed and sworn before me this_~\->)__ day of / VOW an. ar
WITNESS my hand and officialseal // 9 / - of v-,

Signature of Notary Public ( {WAL fee tt M™

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HEATHER HERNANDEZ
PN} My Notary 1D # 132228016
ay Expires October 28, 2023

   

    
 

   

  

 
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Case 2:22-6v 0 EAB BIO RUA ABS 857 [85 7of19 PagelD 7

RETAIL INSTALLMENT SALE CONTRA
CT — SIMPLE FINANCE CHAR
(WITH ARBITRATION PROVISION) se

 

 

 

 

Buyer Name and Address conn eat
eae pannees Zip Code) nung Cone se Coda} Gallar Croditor (Name and Addross)
PO BOX 682 MAE RUBHING HUDIBURG CHEVROLET
WYNNEWOOD Ox 73008 1000 NW 105TH ST APPT 217 6000 TINKER DIAGONAL
GARVIN OKC OK 73114 MIOWEST CITY, OK 73110
You, the 8: 2 OMA

 

 

 

 

Credit under the err Co-Buyer, if any), may buy th

® vehicle b ; :
greemenis in this contract. Yous @ below for cash or on credit. By signing this contract, you choose to buy the vehicle on

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

and Finance Charge i agree to pay the Seller - Creditor (sometimes “we” or *us’ in this contract) the Amount Financed
Disclosures below grail tae eccording to the payment schedule below. We will {igure your finance charge on a daily basis. The Truth-In-Lending
N Make
—— Voor and Model Odometer Vehicle Identification Number Primary Use For Which Purchased
JEEP Personal, family, or household urvess
USED 2017 Cherokme 68646 1C4PJLCB7HWs86294 O uaeeea maseweeren
—— —! OD agricultural ([]
2K FEDERAL TRUTH-IN-LENDING DISCLOSURES Used Car Buyers Guide. The information you |
PERCENTAGE FINAN Amount Total of Total Sale 86¢ on the window form for this vehicle is part of
RANE Crane ced meraymenta rhe Pee, | [thls contract. information on the window form
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ayeary rate, Credit wil | you oron your | have made el! | credit, including . 4
. cost you. behalf, . ymente as your down Spanish Translation: Gula para compredores de
WW 11. scheduled. payment of vehiculos usados. La informacién que ve en el
EY 0.00 j.| | formulario de fa ventanilia pera este vehiculo
/ \ $—_____*"'s! forma perte del presente contrato. Le,
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Your Payment Schedule Will Be: ] (@) means an estimate Seuameaesace contrarte |
Number of Amount! of When Payments : 3
Payments Payments _ / Are Due (CJ VENDOR'S SINGLE INTEREST INSURANCE (VSI
Monthly beginning insurance): i the preceding box is checked, the Creditor
72 339.33 | 04/18/2020 requires VSI insurance for the initia) term of the contract
fo protect the Creditor for loss or damage to the vehicle
N/A N/A_ | N/A (collision, fire, theft, concealment, skip). VS! insurance is
Or As Follows: for the Creditor’s sole protection. This insurance does not

protect your interest in the vehicle. You may choose the
Insurance company through which the VSI
N/A Insurance ts obtained. If you elect to purchase VSI
Late Charge. If payment is not received in full within 10 days after f is due, you will pay a late charge of} | insurance through the Creditor, the cost of this

 

 

 

 

 

$26.00 a; __5__ % of the pan of the payment that Is late, whichever is greater. Insuranceis$ WA aang. also shown
Prepayment. if you pay early, you will not have to pay a penalty. in ttem 4B of the Hemizaton of Amourt Financed. The
Security interest. You are giving a security Interest in the vehicle being purchasad. coverage is for the initia! term of the contract. Any insurer
Additional Information: See this contract for more Information including Information about nonpayment, | | issuing VSI insurance waives its rights to subrogation
defautt, any required repayment tn full before the scheduled date and security interest. against the buyer.

 

 

Agreemant to Arbitrate: By signing below, Re ee enc Himaiercner ete coil at ere ee mache ny eae by neural, binding
arbitration and nol by # court action. See the ation P; i in Jon concerning the ag rate.
soe sy. Lead beg BH Pras - coauyr smax AY NOU Wan tury
NOTICE: ANY HOLDER OF THIS CONSUMER CREDIT CONTRACT IS SUBJECT TO ALL CLAIMS AND DEFENSES WHICH
THE DEBTOR COULD ASSERT AGAINST THE SELLER OF GOODS OR SERVICES OBTAINED PURSUANT HERETO OR
WITH THE PROCEEDS HEREOF. RECOVERY HEREUNDER BY THE DEBTOR SHALL NOT EXCEED AMOUNTS PAID BY
THE DEBTOR HEREUNDER.
‘The preceding NOTICE applies only to goods or services obtained primarily for personal, family, or household use. In ail other cases,

Buyer will not assert against any subsequent holder or assignee of this contract any claims or defenses the Buyer (debtor) may
have against the Seller, or against the manufacturer of the vehicle or equipment obtained under this contract.

HOW THIS CONTRACT CAN BE CHANGED. This contract contains the entire agreement betw » Ae us lating to this ey chan
contract must be in writing and we must sign it. No oral changes are binding. Buyer Signs &. pee Buye Signs

if any part of this contract Is not valid, all other parts stay valid. We may delay or retrain from enforcing any of our nghts under this contract without
For example, we may extend the time for making some payments without-extending the time for making others.

See the rest of this contract for other important agreements,

      

losing them.

74502°1*CHEV-FI 03/04/2020 06:25 pm

uyer Signs X billy LelEarbore roe Signs ew Vay, LAW 553-OK-ARB-eps 7/19 v1. Page 1 of §

 
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2 Total Downpayment » ” = $. _sgecnt0 contract requres rom sryors you choose who ls acceptable
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Lon Fay Sot Date thy Sater or eon insurance fs checked
Equals Net Trade in s certificates trom ine named. Seanen Colpures Wal
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(If total downpayment is negative, enter “0” and see 41 below)  croon Disapiay:(C] Buyer []Co-Buyer C) Both
2 Unpaid Balance of Cash Price {1 minus 2) nn
4 Other Charges Including Amounts Paid to Others on Your Behalf Creat Lite § —____N/A_____—
(Seller may koap part of these amounts): Credit Disability $ ——______M/A__—
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Total Orhex Charges and Amounts Paid to Others on Your Behal $ 1110.00 (4)| | WA WA
5 Amount Finanoad (3 + 4) s. 14010.00 (5) Type of insurance Tem
Premium $ WA
OPTION: [[] You pay no finance charge it the Amount Financed, item 5, is pald In full on or betore | | insurance Company Name
WA _, Year NIA. . SELLER'S INITIALS M/A NIA
Home Otfica Address
[ NO COOLING OFF PERIOD period tor this sale. Af wa
le. After .
law does not ovide for a “cooling off” or cancellation : “ Other optional insurance & not to obtaln credit Your
saad n this contract, you may only cancel It if the seller agrees or for legal cae a Oe buy oF rat buy other wnsrance wa Tot be @
canno this contract simply because you change your mind. This no $n bl nba owl sero pocas N etbe rove ni
apply to home solicitation sales.
ontract (debt cancellation contract) is not required to obtain credit ——— aoe
AL GAP CONTRACT. A gap ©
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contract, the charge Is shown in Item 40 of the ttemization of Amount Financed. See your 9aP a =
contract for details on the terms and conditions It provides. It is 4 part of this contract wa wa
NSD
Term ____ Mos. Name of Gap Contact signature Date
sacl . THIS INSURANCE DOES NOT INCLUDE INSUI
| want to buy @ gap COnaS” wD Wn ANCE ON YOUR LIABILITY FOR BODILY INJUF
auver Signe X A OR PROPERTY DAMAGE CAUSED TO OTHER
uyer Signs ———— - bd . | WITHOUT SUCH INSURANCE YOU MAY NC
[ Returned Check Charge: You sgree to pay a charge of § 28." —— i any check you give us shonored. | | OPERATE THIS VEHICLE ON PUBLIC HIGHWAYS

Buyer Signs X

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NAMAMANAA ASME

 
Case 3:22-cv-01704-G-BT Document1 Filed 08/05/22 Page9of19 PagelD9
a Exeter

June 13, 2022

Mae Rushing
1250 Merit Drive Apt # 6316
Dallas, Texas 75251

Re: Fraudulent Documents
Account Number: 1982330

Mae Rushing:

Exeter Finance LLC (“Exeter”) does not accept the documents you sent, purporting to release your
contractual responsibility regarding the 2017 Jeep Cherokee, VIN# 1C4PJLCB7HW566294(“Vehicle”)
and account for which it stands as collateral security (“Account”). You will remain liable to Exeter under
the Retail Installment Sale Contract- Simple Finance Charge signed with Hudiburg Chevrolet, assigned to
Exeter (“Contract”), which remains intact until the Account is paid in full. Please note that falsely alleging
that the Account is paid in full, when, in fact it is not, constitutes fraud.

Exeter hereby demands that you stop sending any further fraudulent documents or references to same in
future communications. Should you fail to adhere to our request related to the fraudulent documents, be
advised that Exeter will consider all rights and remedies available under applicable law, including without
limitation the right to institute appropriate legal proceedings.

Included with this response is a copy of your executed Contract and a Statement of Account, showing all

account activity through May 30, 2022. Exeter considers both documents to be a validation of debt, no
additional documents will be provided.

Sincerely,
Exeter Finance LLC

Enclosure(s): Retail Installment Contract
Statement of Account
Fraudulent Documents
Case 3:22-cv-01704-G-BT Document1 Filed 08/05/22 Page 10o0f19 PagelD 10

ATTENTION: Hudiburg Chevrolet/Exeter Finance

RE: SSN 447115077 CONSUMER

CREDIT TRANSACTION Retail Installment Sale Contract

Nr

 

Deal # 151727 Account Number 1982330

This Affidavit of Fact is Pursuant to 15 U.S. Code § 1692 (a)(b) which states that The Congress
has found abundant evidence of the use of abusive, deceptive, and unfair debt collection practices
by many debt collectors. These abusive practices contribute to the invasions of individual privacy
among other things which you Hudiburg Chevrolet and Exeter Finance are in violation as I
never gave you my information directly;

I, a consumer in fact, agree with The Congress to eliminate abusive debt collection practices by
debt collectors, and to promote consistent state action to protect consumers like me against debt
collection abuses which you are attempting to do Pursuant to 15 U.S. § Code 1692(e);

‘Lake Notice that Pursuant to 15 U.S. Code § 1692a (2) the term “communication” means the
conveying of information regarding a debt directly or indirectly to any person through any
medium and in this specific case you Hudiburg Chevrolet and Exeter Finance used email,
postal service etc. to communicate indirectly with me a consumer who is defined Pursuant to 15
§ U.S. Code 1692a (3) as any natural person allegedly obligated to pay any debt;

Take further notice that I am the true creditor Pursuant to 15 U.S. Code § 1692a (4) which
clearly states that a creditor is any person who extends credit creating a debt therefore I, a
consumer, created the debt via my extension of credit to Hudiburg Chevrolet and Exeter
Finance;

Notice that under 15 U.S. Code § 1605- Except as otherwise provided in this section, the amount
of the finance charge in connection with any consumer credil transaction shall be determined as
the sum of all charges, payable directly or indirectly by the person to whom the credit is
extended and are aware that Hudiburg Chevrolet and Exeter Finance violated this right as
shown in Exhibit (A) as the finance charge is not the sum of all charges.

You, Hudiburg Chevrolet and Exeter Finance, shall also know that I’xamples of charges
which are included in the include any of the following types of charges which are
applicable as stated Pursuant to 15 U.S. Code § 1605 (c) Property damage and liability
insurance premiums included in finance charge, charges or premiums for insurance, written in
connection with any consumer credil transaction, against loss of or damage to property or against
liability arising out of the ownership or use of property, shall be included in the finance charge
and are aware that you are in violation as this was not included in the finance charge as seen in

Exhibit (b):

You are also in violation of 15 U.S. Code § 1605(a) The finance charge does not include charges
ofa type payable in a comparable cash transaction (i.e. deposits or monthly payments).

You Hudiburg Chevrolet and Exeter Finance shall also know that the term debt defined under
15 U.S. Code § 1692a (5) comprehensively states that it means any alleged obligation of a
consumer to pay money arising out of a transaction in which the money, property, insurance, or
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10.

11.

services which are the subject of the transaction are primarily for personal, family, or household
purposes;

Notice that you are defined as a debt collector Pursuant to 15 U.S. Code § 1692 (6) which states
that a debt collector is any person who uses any instrumentality of interstate commerce via mail
and is engaged in the principal purpose of collecting debt which you are attempting to do by
communicating with me without my prior consent in direct violation of 15 U.S. Code
§1692¢(a)(1);

You Hudiburg Chevrolet and Exeter Finance are also in violation of 15 U.S. Code § 1692b (2)
which states that you may not state that I a consumer owes any debt. Furthermore, you have
attempted to communicate with me on multiple occasion which is a violation of 15 U.S. Code §
1692b(3);

You are also in violation of 15 U.S. Code § 1692e(2)(A) by giving false representation of the
amount of debt allegedly owed and the false representation or deceptive means to attempt to
collect any debt Pursuant to 15 U.S. Code § 1692e(10);

. Take further notice that Pursuant to 15 U.S. Code § 1692e(9) articulates that the use or

distribution of any written communication which creates a false impression as to its source,
authorization, or approval as you Hudiburg Chevrolet and Exeter Finance is stating that
someone other than me a consumer in fact, is the creditor when I am the creditor Pursuant to 15
U.S. Code § 1692a(4);

. [hereby Demand! That you Hudiburg Chevrolet and Exeter Finance cease and desist all

communication and attempts to collect this alleged debt Pursuant to 15 U.S. Code § 1692¢(c);

. Take further notice that your failure to follow these laws will result in me invoking specified

remedies Pursuant to 15 U.S. Code § 1692c(3).

You have 10 days from the receipt of this notice to cease & desist all communication
and remove all negative remarks from all three bureaus or I may seek damages
Pursuant to 15 U.S. Code § 1692k(a)(1)(2)(A)(B)(3)(b) (1) (2) (a). Additionally I DO
NOT consent to any automated scan response or e- Oscar verification methods.

TERMS DEFINED PURSUANT TO 15 U.S. CODE § 1692a

1, The term “communication” means the conveving of information regarding a_debt directly or indirectly to any person through
any medium.

 

2. The term “consumer” means any natural person obligated or allegedly obligated to pay any debt.
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POWER OF ATTORNEY/ARBITRATION AGREEMENT

REVOCATION

06/18/2022

HUDIBURG CHEVROLET/ EXETER FINANCE COMPANY
ATTN: CEO/CFO/RA/Attorney General

2250 W John Carpenter FWY #100

Irving 1X 7506377

Re: Deal # 151727
Transaction between Mae Miekel L’ gna Rushing and Exeter Finance, dated March 04.
2020, involving note and security deed and secured by car property.

To Whom It May Concern:
J Mae Rushing, Affiant, do hereby revoke, rescind, annul, cancel, and extinguish all
powers of attorney and powers of transfer, in fact or otherwise, and/or agencies, signed by

me/us or otherwise, implied by law or otherwise, with or without my consent and/or
knowledge, as it pertains to any and all absolute legal owner and possess title to any and all

such property.
I Mae Rushing, hereby revoke any arbitration agreement in this consumer credit transaction

I, Mae Rushing, Natural Person represent myself concerning the car loan transaction which
I entered into with Exeter Finance on MARCH. 4th, 2020.

I, Mae Rushing, Natural Person have a present right to rescind the transaction for at least
the following reason: I was not provided with the type of notice of my right of rescission
under the Truth in Lending Act ("TILA"), 15 U.S.C. §1601 et seq., that is required by the
Federal Law
1 The Rescission model forms in Regulation Z Appendices H-8 to H-9 are shorter and

safer, simply providing:

1 WISH TO CANCEL

Car owner’s Signature Date 2 See discussion in § 10.6.2.2.

Page 1 of
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Reserve Board for a refinancing with the same lender. I, Mae Miekel L’ gna Rushing
reserves all rights to raise additional or alternative grounds for rescission under state or
federal law.

I am authorizing my right to rescind this transaction pursuant to 15 U.S.C. §1635, and
Regulation Z, 12 C.F.R. §1026.23. This rescission is effective as to all aspects of the
transaction, including all documents signed in connection therewith, and automatically and
immediately places the parties in the status quo ante, i.e., in their pre-contractual positions,
before the transaction was entered into.

You have twenty days after receipt of this letter to return all monies paid by me in this
transaction and to take any action necessary to reflect the termination of any security
interest created under the transaction. Please be advised that if you do not cancel the
security interest and return all consideration paid to me within twenty days of receipt of this
letter, you will be responsible for actual and statutory damages pursuant to 15 U.S.C. §
1640(a).

Please provide me with an itemization of the loan disbursements, the loan charges, the
current principal balance, and all payments received, so that I can determine the exact
amount needed for tender.

If you wish to contact me regarding this matter, I can be reached at 469-578-6405.
Sincerely,

[Mae Rushing]

JURAT

State of. [OX AS County of GU A{__ On this | [th day of LY

2022, before me, the undersigned notary public, personally appeared Last Name, First
Name, proved to me through satisfactory evidence of identification to be the person who
signed the preceding or attached document in my presence, and who swore or affirmed to
me that ae contents of the document are truthful and accurate to the best of his knowledge

and belief. RUSH na Mac Mae- Mickel ¢ ‘9 na
(seal)

 
     
    
 

YADIRA QUEZADA
Notary ID #132734120
My Commission Expires
October 16, 2024

 

City, sone rip D MALAL 1 X 1S 24)

 

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Case 3:22-cv-01704-G-BT Document1 Filed 08/05/22 Page14o0f19 PagelD 14

3. The term “creditor” means any person who offers or extends credit creating a debt or to whom a debt is owed, but such term
does not include any person to the extent that he receives an assignment or transfer of a_debt in default solely for the purpose of
facilitating collection of such debt for another.

 

4. The term “debt” means any obligation or alleged obligation of a consumer to pay money arising out of a transaction in which
the money, property, insurance, or services which are the subject of the transaction are primarily for personal, family, or
household purposes, whether or not such obligation has been reduced to judgment.

5. The term “debt collector” means any person who uses any instrumentality of interstate commerce or the mails in any business
the principal purpose of which is the collection of any debts, or who regularly collects or attempts to collect, directly or
indirectly, debts owed or due or asserted to be owed or due another. Notwithstanding the exclusion provided by clause (F) of the
last sentence of this paragraph, the term includes any creditor who, in the process of collecting his own debts, uses anv name
other than his own which would indicate that a third person ts collecting or attempting to collect such debts. For the purpose

of section 1692f(6) of this title, such term also includes any person who uses any instrumentality of interstate commerce or the
mails in any business the principal purpose of which is the enforcement of security interests.

6. The term “location information” means a conswner's place of abode and his telephone number at such place, or his place of
employment.

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State of 10X45 County of DAIL AS — Onthis {IT dayof ULY —_, 2022,
before me, the undersigned notary public, personally appeared Last Name, First Name, proved to
me through satisfactory evidence of identification to be the person who signed the preceding or
attached document in my presence, and who swore or affirmed to me that the contents of the
document are truthful and accurate to the best of his knowledge and _ belief.

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Notary Public
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Address:

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My Commission Ex
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October 16, 2024

 
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provided by local ru court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

   

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

I. (a) PLAINTIFFS DEFENDANTS
(b) County of Residence of First Listed Plaintiff aN /ct re lof Residence of First Listed Defendant (Da la $
(EXCEPT IN U.S. PLAINTIFF CASES} CUETVE (IN U.S. PLAINTIFF CASES ONLY)
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(c) Attorneys (Firm Name, Address, and Telephone Number. = Mio ~ A\/ ttornéys (/f Known)
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II. BASIS OF JURISDICTION (Place an “X" in ONCBOXOMG Tit, cr TIZENSHIP OF PRINCIPAL PARTIES (Place an “X" in One Box for Plaintiff
(For Diversity Cases Only) and One Box for Defendant)
x U.S. Government C3 Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State CL 1 C] 1 Incorporated or Principal Place CL 4 CL] 4
of Business In This State
CQ 2 US. Government J 4 Diversity Citizen of Another State CL] 2 C] 2 Incorporated and Principal Place C 5 C] 5
Defendant (Indicate Citizenship of Parties in Item III) of Business In Another State
Citizen or Subject of a CL] 3 CL 3 Foreign Nation O 6 [Je
Foreign Country
IV. NATURE OF SUIT (piace an “x” in One Box Only) Click here for: Nature of Suit Code Descriptions.
L CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES
110 Insurance PERSONAL INJURY PERSONAL INJURY 625 Drug Related Seizure 422 Appeal 28 USC 158 375 False Claims Act
120 Marine 310 Airplane CL] 365 Personal Injury - of Property 21 USC 881 423 Withdrawal 376 Qui Tam (31 USC
130 Miller Act 315 Airplane Product Product Liability | 690 Other 28 USC 157 i 3729(a))
140 Negotiable Instrument Liability C 367 Health Care/ 400 State Reapportionment
LJ 150 Recovery of Overpayment |] 320 Assault, Libel & Pharmaceutical RTY RIGHTS 410 Antitrust
& Enforcement of Judgment Slander Personal Injury 820 Copyrights |_| 430 Banks and Banking
151 Medicare Act 330 Federal Employers’ Product Liability 830 Patent |_| 450 Commerce
152 Recovery of Defaulted Liability C 368 Asbestos Personal 835 Patent - Abbreviated |__| 460 Deportation
Student Loans 340 Marine Injury Product New Drug Application |_| 470 Racketeer Influenced and
(Excludes Veterans) 345 Marine Product Liability 840 Trademark Corrupt Organizations
[_] 153 Recovery of Overpayment Liability PERSONAL PROPERTY LABOR |_| 880 Defend Trade Secrets [7] 480 Consumer Credit
of Veteran’s Benefits 350 Motor Vehicle 370 Other Fraud 710 Fair Labor Standards Act of 2016 (15 USC 1681 or 1692)
CL] 160 Stockholders’ Suits 355 Motor Vehicle 371 Truth in Lending Act | 485 Telephone Consumer
[_] 190 Other Contract Product Liability [_] 380 Other Personal |] 720 Labor/Management SOCIAL SECURITY Protection Act
195 Contract Product Liability 360 Other Personal Property Damage Relations 861 HIA (1395ff) 490 Cable/Sat TV
196 Franchise Injury C] 385 Property Damage 740 Railway Labor Act 862 Black Lung (923) 850 Securities/Commodities/
362 Personal Injury - Product Liability 751 Family and Medical 863 DIWC/DIWW (405(g)) _ Exchange
Medical La Ge Leave Act 864 SSID Title XVI |_| 890 Other Statutory Actions
REAL PROPERTY |__ CIVIL RIGHTS | PRISONER PETI IN. 790 Other Labor Litigation | 865 RSI (405(g)) P| 891 Agricultural Acts
|_| 210 Land Condemnation 440 Other Civil Rights Habeas Corpus: 791 Employee Retirement 893 Environmental Matters
[_] 220 Foreclosure 441 Voting 463 Alien Detainee Income Security Act EDERAL TAX SUITS 895 Freedom of Information
230 Rent Lease & Ejectment 442 Employment 510 Motions to Vacate 870 Taxes (US. Plaintiff Act
240 Torts to Land 443 Housing/ Sentence or Defendant) 896 Arbitration
245 Tort Product Liability Accommodations | | 530 General T | 871 IRS—Third Party 899 Administrative Procedure
[| 290 All Other Real Property 445 Amer. w/Disabilities - | 535 Death Penalty IMMIGRATION 26 USC 7609 Act/Review or Appeal of
Employment Other: 462 Naturalization Application Agency Decision
446 Amer. w/Disabilities - 540 Mandamus & Other 465 Other Immigration | 950 Constitutionality of
Other 550 Civil Rights Actions State Statutes
|] 448 Education 555 Prison Condition
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V. ORIGIN (Place an “X” in One Box Only)
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VI. CAUSE OF ACTION Brief description of cause: : : . .
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VII. REQUESTED IN — [] CHECK IF THIS IS A CLASS ACTION DEMAND $ QG, 000 CHECK YES only if demandgd in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. JURY DEMAND: es _[JNo
VIII. RELATED CASE(S)
(See instructions):
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